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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION


   IN RE: AQUEOUS FILM-FORMING )
   FOAMS PRODUCTS LIABILITY    )                   MDL No. 2:18-mn-2873-RMG
   LITIGATION                  )
                               )                   CASE MANAGEMENT
                               )                   ORDER NO. 27F
                               )
                               )                   This Order Relates to:
                               )                   The Southeast Morris County Municipal
                               )                   Utilities Authority
                               )                   2:22-cv-00199-RMG and
                               )                   City of Watertown v. 3M Company et al.,
                               )                   2:21-cv-1104-RMG

PROTOCOL REGARDING FILING RULE 12(b)(1), (b)(2) AND/OR 12(b)(5) DEFENSES IN
              TELOMER WATER PROVIDER TIER TWO CASES

         This Case Management Order (“CMO”) 27F governs the protocol for raising Rule 12(b)(1),

  12(b)(2) and/or 12(b)(5) defenses in the two water provider bellwether cases selected for Tier Two

  Discovery in the Telomer AFFF Bellwether Program, which are (1) City of Watertown v. 3M Company

  et al. (No. 2:21-cv-01104) and (2) Southeast Morris County Municipal Utilities Authority v. 3M

  Company et al. (No. 2:22-cv-00199) (the “Telomer Water Provider Tier Two Cases”).

         Any defenses under Rules 12(b)(1), 12(b)(2) and/or 12(b)(5) that Defendants may have in

  any of the Telomer Water Provider Tier Two cases are expressly preserved and not waived.

  Defendants need not file Rule 12(b)(1), 12(b)(2) or 12(b)(5) motions with respect to the Telomer

  Water Provider Tier Two cases at this time. They may raise these defenses by motion at a later

  date, in accordance with the case management schedule that has been established by this Court.

          AND IT IS SO ORDERED.

                                                      s/Richard Mark Gergel
                                                      Richard Mark Gergel
                                                      United States District Judge
  April 9, 2024
  Charleston, South Carolina
